                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW MEXICO

 In re:
 ROMAN CATHOLIC CHURCH OF THE                     Chapter 11
 ARCHDIOCESE OF SANTA FE, a New
 Mexico corporation sole,                         Case No. 18-13027-11
              Debtor.


   APPLICATION TO EMPLOY WALKER & ASSOCIATES, P.C. AS BANKRUPTCY
                 COUNSEL FOR DEBTOR IN POSSESSION

       The Debtor and Debtor in possession Roman Catholic Church of the Archdiocese of Santa

Fe, a New Mexico Corporation sole (the “Debtor”) in the above-captioned Chapter 11 bankruptcy

case (the “Bankruptcy Case”), by counsel and pursuant to 11 U.S.C. §§ 327(a), 328, and 329, hereby

requests that the Court approve its employment of Walker & Associates, P.C. (“W&A”) as the

Debtor’s bankruptcy counsel, in accordance with the terms and conditions set forth below. This

Application is supported by the Declaration of Thomas D. Walker under Bankruptcy Rule 2014 (the

“Declaration”), which is filed herewith. In further support of this Application, the Debtor states as

follows:

       1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334, and Miscellaneous Order No. 84-0324 filed in the United States District Court for the District

of New Mexico on March 19, 1992. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue

is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      On December 3, 2018 (the “Petition Date”), the Debtor commenced this bankruptcy

case by filing a voluntary petition for relief under Chapter 11 of the Bankruptcy Code.

       3.      The Debtor is authorized to operate its businesses as a debtor-in-possession pursuant

to 11 U.S.C. §§ 1107(a) and 1108.




 Case 18-13027-t11       Doc 4      Filed 12/03/18    Entered 12/03/18 15:17:16 Page 1 of 6
       4.        No creditors committee has yet been appointed in this case, nor has any trustee been

requested or appointed.

       5.        The Debtor wishes to employ W&A as its counsel in this Bankruptcy Case as more

particularly described in the Declaration, including but not limited to contested matters and

adversary proceedings, and in all other matters in which the Debtor requires bankruptcy counsel,

and in such other matters as the Debtor may request of W&A and W&A may agree to perform.

W&A is qualified to represent the Debtor in this case.

       6.        The employment of W&A is appropriate and necessary to enable Debtor to execute

faithfully its duties as a Debtor and Debtor-in-possession. Subject to further order of this Court, it is

proposed that W&A be employed to:

            a.   Represent and render legal advice to Debtor regarding all aspects of this bankruptcy

case, including, without limitation, representing Debtor in hearings before this Court and drafting

pleadings in furtherance of Debtor’s bankruptcy case;

            b. Take necessary actions to protect and preserve Debtor’s estate, including the

prosecution of actions on Debtor’s behalf, the defense of actions commenced against Debtor, the

negotiation of disputes in which Debtor is involved, and the preparation of objections to claims filed

against the Debtor’s estate;

            c. Provide legal advice with respect to Debtor’s powers and duties as Debtor-in-

possession in the continued operation of its activities;

            d. Prepare on behalf of Debtor necessary motions, applications, answers, orders, reports,

and papers including Debtor’s plan of reorganization and disclosure statement in connection with

the administration and prosecution of Debtor’s Chapter 11 case;

            e.   Assist Debtor in connection with disposition of Debtor’s assets, by sale or otherwise;




                                            -2-
 Case 18-13027-t11         Doc 4    Filed 12/03/18      Entered 12/03/18 15:17:16 Page 2 of 6
              f. Assist Debtor in the negotiation, preparation and confirmation of a plan or plans of

reorganization and related transactions;

              g. Appear in Court to protect Debtor’s interests before the Court;

              h. Assist Debtor with gathering information needed in this bankruptcy case; and

              i. Perform other necessary legal services in connection with this bankruptcy case.

        7.       W&A’s services will not include rendering advice in tax, securities, personal injury,

environmental, labor, or criminal law, administrative and regulatory law, or consumer protection

law unless mutually agreed between the Debtor and W&A on a matter-by-matter basis.

        8.       The services provided by W&A will not duplicate or overlap the efforts of other

professionals retained by the Debtor, including lead bankruptcy counsel.

        9.       To the best of Debtor’s knowledge, information, and belief, after making reasonable

inquiry, W&A has no connection with or any interest adverse to Debtor, its creditors, or any other

party in interest, or its respective attorneys and accountants, the United States Trustee for the District

of New Mexico, or any person employed in the Office of the United States Trustee. Accordingly,

W&A is a “disinterested person” as such term is defined in § 101(14) of the Bankruptcy Code.

        10.      In light of the foregoing, Debtor believes that W&A is qualified to represent its

interests and the interests of its estate.

        11.      The Debtor understands that W&A intends to apply to the Court for allowances of

compensation and reimbursement of expenses as permitted by and in accordance with applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, Local Rule 2016-1.1, the United States

Trustee guidelines, and the Court’s orders, for services performed and expenses incurred on and after

the Petition Date. The fee applications will contain a detailed statement showing services performed




                                              -3-
 Case 18-13027-t11          Doc 4     Filed 12/03/18    Entered 12/03/18 15:17:16 Page 3 of 6
by W&A and compensation received in accordance with all applicable guidelines and Local Rule

2016-1.1.

       12.     Subject to Court approval, and to the extent it is able, Debtor proposes to pay W&A

its customary hourly rates for services rendered that are in effect from time to time, as set forth in

the W&A Declaration, and to reimburse W&A according to its customary reimbursement policies,

subject to any applicable guidelines set forth by this Court or the United States Trustee, and submits

that such rates are reasonable. W&A’s attorneys who may perform legal services for the Debtor

include Thomas D. Walker, whose hourly rate is $295.00; Chris Pierce, whose hourly rate is $295.00;

Stephanie L. Schaeffer, whose hourly rate is $250.00, and Samuel I. Roybal, whose hourly rate is

$250.00. Any other attorneys who may be employed by W&A would be billed at their regular hourly

rates. Law clerks and paralegals would be billed at $75 to $125 per hour.

       13.     W&A itemizes and charges separately for certain reasonable costs and expenses,

which may include postage, long distance telephone charges, travel, filing fees, computerized legal

research, deposition expenses, and expert witness fees, at W&A’s actual cost. W&A also charges

for telecopies, photocopies ($0.10 per page), and gross receipts tax on fees and costs. Further,

although considered normal expenses charged to its clients, W&A has informed Debtor that, limited

to this bankruptcy case, it will not charge Debtor for any of the following services, pursuant to this

Court’s opinion in In re Furr’s Supermarkets, Inc., Case No. 11-01-10779 SA (Bankr. D.N.M. June

28, 2001): secretarial work, secretarial overtime, overtime meals, late work transportation

allowances, and word processing, proofreading, or other miscellaneous support services.

       14.     If the application to employ W&A is granted, W&A will render monthly statements

to Debtor and other parties in interest. W&A seeks authority to be paid monthly, upon receipt of

W&A’s billing statements and before the fees and costs are allowed, 75% of billed fees and 100%




                                           -4-
 Case 18-13027-t11        Doc 4    Filed 12/03/18     Entered 12/03/18 15:17:16 Page 4 of 6
of billed costs and gross receipts tax, to be paid from funds of the estate. All fees, costs, and gross

receipts tax would be subject to ultimate approval of the Bankruptcy Court under 11 U.S.C. §§ 328,

330, and 331. W&A’s fee applications would contain a detailed statement showing services

performed by W&A for compensation received.

       15.     In the past twelve months, W&A has received $149,022.54 in payment for prepetition

legal services rendered to the Debtor. The source of the prepetition payments was the Debtor. W&A

is not owed any amount by the Debtor for prepetition services. The Debtor has not paid and W&A

has not received a pre-petition retainer in any amount.

       WHEREFORE, the Debtor respectfully requests the entry of an order, pursuant to §§ 327(a),

328, and 329 of the Bankruptcy Code and Bankruptcy Rules 2014 and 2016, authorizing Debtor to

employ and retain W&A as bankruptcy counsel effective as of the date this Application was filed

and granting Debtor all such other relief as the Court deems just and proper.

                                      Respectfully submitted,

                                      WALKER & ASSOCIATES, P.C.

                                      By: filed electronically 12/3/2018
                                          Thomas D. Walker
                                          Stephanie L. Schaeffer
                                          500 Marquette Ave NW, Suite 650
                                          Albuquerque, NM 87102
                                          Telephone: (505) 766-9272
                                          Facsimile: (505) 766-9287
                                          e-mail: twalker@walkerlawpc.com
                                      Proposed Attorneys for Debtor in Possession




                                           -5-
 Case 18-13027-t11        Doc 4    Filed 12/03/18      Entered 12/03/18 15:17:16 Page 5 of 6
I hereby certify that, on December 3, 2018,
in accordance with NM LBR 9036-1 and
Fed. R. Civ. P. 5(b)(3), a true copy of the
foregoing was served via the Court’s CM/ECF
notification facilities to those parties who are
registered CM/ECF participants in this case.


s/ filed electronically
Stephanie L. Schaeffer




                                           -6-
 Case 18-13027-t11        Doc 4    Filed 12/03/18   Entered 12/03/18 15:17:16 Page 6 of 6
